Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                              Case No. 22-cv-23753-MOORE/BECERRA

   EDWIN GARRISON, et al., on behalf of
   themselves and all other similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                  /

    DEFENDANT SHAQUILLE O’NEAL’S MOTION TO DISMISS FOR INSUFFICIENT
       SERVICE OF PROCESS AND INCORPORATED MEMORANDUM OF LAW
Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 2 of 6




            After a failed motion to serve Mr. O’Neal by alternate means, Plaintiffs now suddenly

   claim to have served him in the state of Georgia.1 They rely on two process servers—neither of

   whom has legal authority to serve process in Georgia—who “tossed . . . legal documents at the

   front of” Mr. O’Neal’s moving car, and “le[ft] the legal documents on the road where they landed.”

   Affs. 1, ECF No. 161. This purported “service” is inadequate under Rule 4 of the Federal Rules

   of Civil Procedure and Georgia law. It should be quashed, and the claims against Mr. O’Neal

   dismissed pursuant to Fed. R. Civ. P. 12(b)(5).

   I.       BACKGROUND.

            Plaintiffs filed this action on November 15, 2022. See Compl., ECF No. 1. Their ninety-

   day window to serve Mr. O’Neal expired on February 13, 2023. See Fed. R. Civ. P. 4(m). Yet

   Plaintiffs did not even hire a process server to attempt service on Mr. O’Neal until February 21,

   2023. Pls.’ Composite Ex. B. at 4, ECF No. 88-2. According to their filings, Plaintiffs first sought

   to serve Mr. O’Neal on February 23, 2023—well after the deadline to complete service—at his

   former wife’s Texas home. See id. at 4-5. When this effort too did not succeed, Plaintiffs next

   attempted service at an address they believe to be Mr. O’Neal’s Texas residence, but he was not

   there. Id. Plaintiffs then emailed copies of the service papers to counsel who represented Mr.

   O’Neal in previous, unrelated matters. Pls.’ Resp. 5-6 & Exs. G, H, ECF Nos. 99, 99-7, 99-8.

   Plaintiffs next asked the Court to permit service by “direct message” on Twitter or Instagram or

   by email to attorneys who did not then and do not now represent Mr. O’Neal in this case. Mot. 8,

   ECF No. 122. The Court rejected these requests as “factually unsupported,” “legally insufficient,”

   and “frivolous.” Order 3, ECF No. 133.

            Plaintiffs’ latest attempted service fares no better. Plaintiffs’ affidavits state that the two



   1
       Plaintiffs allege Mr. O’Neal is a Texas resident. Am. Compl. ¶ 38, ECF No. 16.
                                                      1
Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 3 of 6




   process servers—neither of whom is registered in Georgia—saw Mr. O’Neal driving his car out

   of his residence. Affs. 1, 5. They crowded the road outside the double residential gate to his

   property, making it so he had to drive by both of them to leave his home, and then stepped outside

   their cars. Id. One of them claims to have called Mr. O’Neal’s name, and both state they held up

   “legal documents.” Id. at 1, 5. Neither process server, however, identified himself or explained

   to Mr. O’Neal that he was there to serve process. Id. Instead, as Mr. O’Neal—who never exited

   his car—drove past the strangers lurking outside his home, one of the process servers “tossed the

   legal documents at the front of” his car. Id. When the documents hit the car, which was moving

   “at a high rate of speed,” the documents “f[e]ll onto the road,” and the process servers “l[e]ft the

   legal documents on the road where they landed”—that is, on the public road. Id. at 1-3.

   II.      ARGUMENT.

            Plaintiffs may serve Mr. O’Neal by “following state law for serving a summons” in the

   state “where service is made”—i.e., Georgia—or by “delivering a copy of the summons and of the

   complaint to the individual personally.” Fed. R. Civ. P. 4(e). Plaintiffs did neither.

            First, Plaintiffs’ attempted service was insufficient under Georgia law, which requires that

   “personal service must be made by an authorized person.” Merck v. St. Joseph’s Hosp. of Atl.,

   Inc., 555 S.E.2d 11, 13 (Ga. Ct. App. 2001) (alteration and quotation omitted). “Authorized

   persons” include only law enforcement officers, individuals who are “specially appointed” by

   court order to serve process, and “certified process server[s]” registered with state and county

   officials. O.C.G.A. §§ 9-11-4(c), -4.1. Plaintiffs’ process servers are neither specially appointed

   nor certified in Georgia.2 Any service upon Mr. O’Neal by these “unauthorized person[s]” would



   2
       Plaintiffs’ process servers do not appear on either the Georgia Sheriffs’ Association’s “registry

   of certified process servers,” O.C.G.A. § 9-11-4.1(e); see Ga. Sheriffs’ Ass’n, All Certified Process

                                                      2
Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 4 of 6




   thus be “a nullity.” Lewis v. Waller, 637 S.E.2d 505, 511 (Ga. Ct. App. 2006) (quotation omitted).

          Second, Plaintiffs have not “personally” served Mr. O’Neal as required by Rule 4(e)(2)(A)

   and Georgia law, see O.C.G.A. § 9-11-4(e)(7) (requiring service in manner similar to

   Rule(4)(e)(2)). Effective service by personal delivery “require[s] that the service documents be

   ‘tendered’ to the recipient.” Blueskygreenland Env’tl Sols., LLC v. Rentar Env’tl Sols., Inc., 2013

   WL 12095152, at *1 (S.D. Fla. Apr. 3, 2013). Throwing papers at a moving car and leaving them

   unattended on a public highway “is not good tender as it provides no way of knowing whether the

   papers landed in physical proximity to” Mr. O’Neal. Id.; cf. Branstetter v. Lorenzo, 2022 WL

   1037198, at *2 (D. Haw. Mar. 14, 2022) (attempted service by “leaving papers on a parked

   vehicle” did not “amount to substantial compliance with Rule 4(e)(2)”); Omnitrition Int’l Inc. v.

   Omnilife USA, Inc., 1997 WL 560772, at *1 (N.D. Tex. Aug. 29, 1997) (service would be

   insufficient if “an unidentified person hurled papers at the exterior of the [defendant’s] limousine

   as it drove by,” distinguishing facts).

          As this Court has observed, “Plaintiffs must strictly comply with the statutory

   requirements” for service on Mr. O’Neal. ECF No. 101. “A defendant’s actual notice is not

   sufficient to cure defectively executed service.” Albra v. Advan, Inc., 490 F.3d 826, 829 (11th Cir.

   2007). Plaintiffs have had months and multiple tries. Mr. O’Neal has not evaded service by failing

   to be at the residences where Plaintiffs belatedly attempted service or by driving past strangers

   who approached his car. The Court should quash service and dismiss the claims against him.



   Servers, http://www.gsacpsregistry.org/ (last accessed May 8, 2023), or the list of court- appointed

   process servers for the Georgia Superior Court assigned to McDonough, Georgia, see Henry Cnty.

   Gov’t, Flint Jud. Cir. Special Process Server List 2022-2023, https://www.co.henry.ga.us/

   Departments/Courts/Superior-Court/Approved-Process-Servers (last accessed May 8, 2023).

                                                    3
Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 5 of 6




                                        Respectfully submitted,


                                        Colson, Hicks, Eidson, P.A.
                                           255 Alhambra Circle, Penthouse
                                           Coral Gables, Florida 33134
                                           (305) 476-7400

                                        By: /s/ Roberto Martínez
                                           Roberto Martínez
                                           Florida Bar No. 305596
                                           bob@colson.com
                                           Stephanie A. Casey
                                           Florida Bar No. 97483
                                           scasey@colson.com
                                           Zachary Lipshultz
                                           Florida Bar No. 123594
                                           zach@colson.com

                                        LATHAM & WATKINS LLP
                                          Andrew B. Clubok (pro hac vice)
                                            andrew.clubok@lw.com
                                          Susan E. Engel (pro hac vice)
                                            susan.engel@lw.com
                                          Brittany M.J. Record (pro hac vice)
                                            brittany.record@lw.com
                                        555 Eleventh Street, N.W., Suite 1000
                                        Washington, D.C. 20004-1304
                                        Tel: +1.202.637.2200
                                        Fax: +1.202.637.2201

                                        LATHAM & WATKINS LLP
                                          Marvin S. Putnam (pro hac vice)
                                            marvin.putnam@lw.com
                                          Jessica Stebbins Bina (pro hac vice)
                                            jessica.stebbinsbina@lw.com
                                          Elizabeth A. Greenman (pro hac vice)
                                            elizabeth.greenman@lw.com
                                        10250 Constellation Blvd., Suite 1100
                                        Los Angeles, California 90067
                                        Tel: +1.424.653.5500
                                        Fax: +1.424.653.5501
                                        LATHAM & WATKINS LLP
                                          Michele D. Johnson (pro hac vice)
                                            michele.johnson@lw.com
                                        650 Town Center Drive, 20th Floor
                                        Costa Mesa, California 92626-1925
                                        Tel: +1.714.540.1235
                                        Fax: +1.714.755.8290

                                        Attorneys for Defendant Shaquille O’Neal

                                        4
Case 1:22-cv-23753-KMM Document 191 Entered on FLSD Docket 05/08/2023 Page 6 of 6




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 8, 2023, a true and correct copy of the foregoing was

   filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true and

   correct copy to be served on all counsel of record.

                                                              By: /s/ Roberto Martínez
                                                                      Roberto Martínez




                                                    5
